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                                                                                                      E-FILED
                                                                 Thursday, 15 September, 2022 08:33:26 PM
                                                                               Clerk, U.S. District Court, ILCD

                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS
                                 PEORIA DIVISION

ASHOOR RASHO, et al.,                            )
                                                 )
               Plaintiffs,                       )    No. 1:07-CV-1298-MMM-JEH
                                                 )
       v.                                        )    Judge Michael M. Mihm
                                                 )
ROB JEFFREYS, et al.,                            )
                                                 )
               Defendants.                       )


               PLAINTIFFS’ MOTION FOR LEAVE TO ADD GOVERNOR
                           PRITZKER AS A DEFENDANT

       Plaintiffs, move for leave of this Court to add a named Defendant in this matter with the

filing of the Fourth Amended Class Action Complaint, as follows.

   1. The Court has granted leave for Plaintiffs to file their Fourth Amended Class Action

Complaint. The Fourth Amended Class Action Complaint is attached as Exhibit A.

   2. With this Fourth Amended Complaint, pursuant to Federal Rule of Civil Procedure 21,

Plaintiffs seek to add Defendant J.B. Pritzker as a named Defendant in his official capacity. J.B.

Pritzker is the Governor and Chief Executive Officer of the State of Illinois. In this capacity, he

has the ultimate authority for ensuring that the IDOC function in compliance with state and

federal law.

   3. Plaintiffs also substitute other Defendants named in their official capacities and drop

named plaintiffs no longer incarcerated in the Illinois Department of Corrections (“IDOC”).

   4. Current named Plaintiffs Ashoor Rasho, Keith Walker, Otis Arrington, Donald Collins,

Desiree Hollis, and Crystal Stoneburner are no longer incarcerated and are therefore Plaintiffs

are removing them as named Plaintiffs.



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    5. Named Plaintiffs Patrice Daniels, Gerrodo Forrest, Joseph Herman, Henry Hersman,

Rasheed McGee, Fredricka Lyles and Clara Plair continue to fully represent the claims of

Plaintiffs in this matter.

    6. With the Fourth Amended Complaint, Plaintiffs substitute Chief of Psychiatry, Dr.

William Puga, and Chief of Mental Health Services, Dr. Melvin Hinton, for former Chief of

Mental Health and Psychiatric Services, Dr. Wendy Navarro, as named Defendants. Dr. Navarro,

the former Chief of Mental Health and Psychiatric Services, was a named Defendant in previous

versions of this complaint. Since the filing of this case, the IDOC has split this official role into

two positions—Chief of Psychiatry and Chief of Mental Health Services. Dr. Puga and Dr.

Hinton are sued in their official capacity. As public officers, Dr. Puga and Dr. Hinton are

automatically substituted for Dr. Navarro, pursuant to Federal Rule of Civil Procedure 25(d).

    7. Likewise, Plaintiffs substitute IDOC Director Rob Jeffreys for former IDOC Director

John Baldwin as named Defendant. Director Jeffreys is sued in his official capacity. As a public

officer, Director Jeffreys is automatically substituted for former Director Baldwin, pursuant to

Federal Rule of Civil Procedure 25(d).

        WHEREFORE Plaintiffs respectfully request that the Court grant leave to add a named

Defendant Governor Pritzker in his official capacity in the Fourth Amended Class Action

Complaint, attached hereto as Exhibit A.

                                                        RESPECTFULLY SUBMITTED,


                                                          /s/ Amanda Antholt
                                                        One of the attorneys for Plaintiffs




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